DANIEL MARCUS, ESQ.                                                                       (551)-427-5069
                                                                                        dan@hlgesq.com

BY ECF

                                     Application granted. The parties are directed to submit a status update
June 11, 2025                        apprising the Court as to the parties’ progress in the settlement process by
The Honorable Gary Stein             no later than July 11, 2025.
United States Magistrate Judge
                                     Date:    June 13, 2025
Daniel Patrick Moynihan                       New York, NY
United States Courthouse
500 Pearl St.
New York, NY 10007-1312


Re: Hazan Sports Management Group, Inc. v. Beasley/ 1:25-cv-03259-JAV-GS


Dear Judge Stein,
I represent the Plaintiff, Hazan Sports Management Group, Inc., in the above captioned case. I hereby
submit this letter motion for an extension of time to move for a default judgment as the parties have been
engaged in settlement discussions which as of the date of this letter are still ongoing. The timing of when
a settlement can be executed amongst the parties is predicated upon the defendant’s financial liquidity
which is directly related to the commencement of the National Basketball Association’s (“NBA”) free
agency period which does not begin until July 6th.
Therefore, in the interest of judicial efficiency and providing the Parties with enough time to resolve this
matter, pursuant to Local Civil Rule 7.1(d), the Plaintiff hereby requests an extension of (45) days to
either file its motion for default judgment or provide the court with a further update regarding the
progress (or lack thereof) of settlement negotiations.


Respectfully Submitted,




Daniel Marcus, Esq.
